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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                       Plaintiff,   )    Case No. CR04-512-MJP
                                                      )
10                          v.                        )    PROPOSED FINDINGS OF FACT
                                                      )    AND DETERMINATION AS TO
11 GWENDOLYN ANN OPPENHEIM,                           )    ALLEGED VIOLATIONS OF
                                                      )    SUPERVISED RELEASE
12                                    Defendant.      )

13                                          INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on January 7,

15 2010. The defendant appeared pursuant to a warrant issued in this case. The United States was

16 represented by Tessa M. Gorman, and defendant was represented by Stephen R. Illa. Also

17 present was U.S. Probation Officer Sara K. Moore. The proceedings were digitally recorded.

18                                 SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on February 28, 2006 by the Honorable Marsha J. Pechman for

20 Conspiracy to Commit Bank Fraud. She received 15 months of detention and 5 years of

21 supervised release.

22       On May 31, 2007, the Court modified her conditions of supervised release by placing her on

23 the home confinement curfew component for the following violations: failing to reside at a


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1 Residential ReEntry Center (RRC) for up to 180 days; using alcohol at the RRC; failing to be

 2 truthful with the probation office; failing to follow instructions of the probation officer; and

 3 failing to pay restitution. Ms. Oppenheim began her home confinement curfew on June 29,

 4 2007.

 5       Ms. Oppenheim subsequently incurred numerous violations while on the curfew component,

 6 and also ultimately failed to appear for a scheduled appointment on October 10, 2007. The Court

 7 then modified her conditions of supervised release by placing her on home confinement with

 8 electronic monitoring and sobrietor.

 9       Ms. Oppenheim again violated her conditions of supervision by failing to comply with the

10 home confinement program. On December 19, 2007, her supervision was revoked and the Court

11 imposed a sentence of 60 days custody, and re-imposed supervised release for a period four

12 years.

13       On January 25, 2008, Ms. Oppenheim was released from custody and her second term of

14 supervised release commenced. However, in February 2008, Ms. Oppenheim violated her terms

15 of supervised release by using marijuana, committing the crime of DUI, committing the crime of

16 DWLS, consuming alcohol, failing to participate in MRT, and failing to report to the probation

17 office. On March 31, 2009, Ms. Oppenheim’s supervised release was revoked and the Court

18 imposed four months of imprisonment, and re-imposed supervised release for a period of three

19 years. Ms. Oppenheim’s period of supervised release is scheduled to expire on June 28, 2012.

20                               PRESENTLY ALLEGED VIOLATIONS

21       In a petition dated December 30, 2010, U.S. Probation Officer Sara K. Moore alleged that

22 defendant violated the following conditions of supervised release:

23       1.       Using marijuana on are before July 30, 2010, in violation of standard condition 7.


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
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 1       2.       Using marijuana on are before November 26, 2010, in violation of standard

 2 condition 7.

 3       3.       Using marijuana on are before December 10, 2010, in violation of standard

 4 condition 7.

 5       4.       Using marijuana on are before December 21, 2010, in violation of standard

 6 condition 7.

 7       5.       Failing to report to the probation office as directed on December 28, 2010, in

 8 violation of standard condition 2.

 9       6.       Failing to report to the probation office as directed on December 29, 2010, in

10 violation of standard condition 2.

11                       FINDINGS FOLLOWING EVIDENTIARY HEARING

12       Defendant admitted the above violations, waived any hearing as to whether they occurred,

13 and was informed the matter would be set for a disposition hearing on January 14, 2011 at 2:30

14 p.m. before District Judge Marsha J. Pechman.

15                       RECOMMENDED FINDINGS AND CONCLUSIONS

16       Based upon the foregoing, I recommend the court find that defendant has violated the

17 conditions of her supervised release as alleged above, and conduct a disposition hearing.

18       DATED this 6th day of January, 2011.

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21
                                                         A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 3
